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5    Attorney for Defendant
     Tommy Ware
6

7                    IN THE UNITED STATES DISTRICT COURT
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         ) Case No. Cr.S-13-0054 KJM
10                                     )
                Plaintiff,             ) STIPULATION AND PROPOSED ORDER
11                                     ) MODIFYING CONDITIONS OF RELEASE
          vs.                          )
12                                     )
                                       )
13   TOMMIE WARE                       )
                                       )
14                                     )
                Defendant
                                       )
15

16
          For the reasons stated below, defendant, TOMMIE WARE,
17
     alone, through counsel, and the Government, through counsel,
18
     Assistant United States Attorney, Jason Hitt, stipulate that Mr.
19
     Ware’s condition of release may be modified to delete the
20
     requirement of Electronic Monitoring. This stipulation has been
21
     discussed with Pre-trial Services Officer, Rene Basurto, who is
22
     presently supervising Mr. Ware, and she concurs.
23

24        By this Court’s previous order Mr. Ware was placed released

25   on conditions and Pre-Trial supervision. Those conditions have

     included Electronic Monitoring. It is Ms. Basurto’s considered


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1    opinion that Electronic Monitoring is no longer required. All
2    other conditions of release, as reflected in the attached
3
     memorandum prepared by Pre-Trial Services shall remain in full
4
     force and effect.
5
     IT IS SO STIPULATED
6

7
     /s/Jason Hitt
8    JASON HITT, Esq.,                           Dated: April 22, 2015
     Assistant United States Attorney
9    Attorney for Plaintiff
10   /S/MICHAEL B. BIGELOW                       Dated: April 22, 2015
     Michael B. Bigelow
11
     Attorney for Defendant
12
     Tommy Ware

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15                                 IT IS SO ORDERED

16   DATED:     April 23, 2015.
17

18
                                              UNITED STATES DISTRICT JUDGE
19

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1
                      THIRD AMENDED CONDITIONS OF RELEASE
2

3
                                            Re: Ware, Tommy
4                                           Docket No.: 2:13-CR-054 KJM
5                                           Date: April 20, 2015
6

7    1.   You shall report to and comply with the rules and regulations of the Pretrial

8         Services Agency;

9

10
     2.   You shall report in person to the Pretrial Services Agency on the first working
          day following your release from custody;
11

12
     3.   You are to reside at a location approved by the pretrial services officer and
13
          not move or absent yourself from this residence for more than 24 hours
14
          without the prior approval of the pretrial services officer;
15

16
     4.   You shall cooperate in the collection of a DNA sample;
17

18
     5.   You shall not possess a firearm/ammunition, destructive device, or other
19        dangerous weapon; additionally, you shall provide written proof of divestment
20        of all firearms/ammunition currently under your control;
21

22   6.   You shall submit to drug and/or alcohol testing as approved by the pretrial
23        services officer. You shall pay all or part of the costs of the testing services

24        based upon your ability to pay, as determined by the pretrial services officer;

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1
     7.    You shall seek and/or maintain employment and provide proof of same as
           requested by your pretrial services officer;
2

3

4    8.    You shall not associate or have any contact with any co-defendants named
5          in the Complaint unless in the presence of counsel or otherwise approved in
6          advance by the pretrial services officer;
7

8    9.    You shall report any contact with law enforcement to your pretrial services

9          officer within 24 hours;

10
     10.   Your travel is restricted to the Eastern District of California without the prior
11
           consent of the pretrial services officer;
12

13
     11.   You shall refrain from excessive use of alcohol or any use of a narcotic drug
14
           or other controlled substance without a prescription by a licensed medical
15
           practitioner; and you shall notify Pretrial Services immediately of any
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           prescribed medication(s). However, medicinal marijuana, prescribed or not,
17
           may not be used.
18

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